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                               No. 24-1819

                                  IN THE

            United States Court of Appeals
                 for the Third Circuit

                ASTRAZENECA PHARMACEUTICALS, LP, ET AL.,
                                           Plaintiffs-Appellants,
                                      v.
                          XAVIER BECERRA, ET AL.,
                                           Defendants-Appellees.

              On Appeal from the United States District Court
                        for the District of Delaware
            No. 23-cv-00931-CFC, Chief Judge Colm F. Connolly


           OPENING BRIEF FOR PLAINTIFFS-APPELLANTS


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                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and Rule

26.1 of this Court, Appellants AstraZeneca Pharmaceuticals LP and AstraZeneca

AB disclose the following: AstraZeneca Pharmaceuticals LP is a Delaware limited

partnership. AstraZeneca Pharmaceuticals LP’s general partner is AstraZeneca AB,

a Swedish corporation. AstraZeneca Pharmaceuticals LP’s sole limited partner is

Zeneca Inc., a Delaware corporation. AstraZeneca PLC, a publicly-held company,

is the ultimate parent company of AstraZeneca Pharmaceuticals LP, AstraZeneca

AB, and Zeneca, Inc. No other publicly held company owns 10% or more of the

voting interest in AstraZeneca Pharmaceuticals LP or AstraZeneca AB.



July 15, 2024                       /s/ Catherine E. Stetson
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                                INTRODUCTION

      AstraZeneca is a world-leading pharmaceutical company that creates

medicines to treat serious diseases. AstraZeneca aims to provide patients access to

its medications today, and to continue funding innovative, life-saving medical

advancements for tomorrow.        That life-saving and innovative work requires

tremendous investment: AstraZeneca spends billions on research and development,

and any given drug can take years in the development pipeline before it is

approved—if it is approved at all. In exchange for the investment and those

attendant risks, AstraZeneca receives patents on its drugs. Those patents, alongside

regulatory exclusivity periods, allow AstraZeneca to recoup its investments based

on the prevailing market-dictated price.

      In the last few years, the government has upended this regime, shifting from

a market participant and arms-length negotiator to a market manipulator, using the

cudgel of fines, penalties, and exclusion from government programs. In 2022,

Congress enacted the so-called “Drug Pricing Negotiation Program,” a Medicare

price-fixing statute that forces manufacturers like AstraZeneca to sell their patented

drugs to nearly half the market at government-dictated prices. And despite the

program’s label, there is no real “negotiation” here; declining the government’s

“offer” subjects a manufacturer to exorbitant penalties, which the manufacturer can

only avoid by withdrawing all of its products from Medicare and Medicaid. The



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statute authorizes the Centers for Medicare & Medicaid Services (CMS) to dictate

whether a drug qualifies for “negotiation” and what constitutes a “fair price,”

without notice-and-comment and without judicial oversight to boot; the statute bars

judicial or administrative review of those key decisions.

      Wielding its newfound authority, CMS issued guidance that drastically

expands the Program’s already broad reach. The statute limits the Program to small-

molecule drugs that have been on the market for at least seven years. CMS, however,

re-wrote that limitation so it can control the price for a new drug as soon as it hits

the market—as long as it shares an active moiety with a previously approved drug.

The statute requires that the price control end once a generic competitor is approved

and marketed.    CMS instead adopted a nebulous “bona fide marketing” test,

retaining complete discretion to determine when such generic competition occurs.

      This government price-control program—augmented by CMS’s standardless

guidance—has harmed manufacturers like AstraZeneca. CMS has already selected

for price control one of AstraZeneca’s patented drugs: FARXIGA® (dapagliflozin),

which treats diabetes, heart disease, and kidney disease. Other medications are

likely to follow, including several critical cancer drugs. AstraZeneca has planned

and invested in the development of these drugs for years. Yet the Program stands to

disrupt AstraZeneca’s investment-backed expectations by dictating the value of

patented drugs like FARXIGA during the critical exclusivity period. What is more,



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AstraZeneca must agree to a price for the drug now that will apply for years to come,

and it must make drug portfolio decisions now that impact the company for the

foreseeable future. The agency’s unlawful policies thus cause AstraZeneca concrete

and imminent harm.

      Walking away from Medicare and Medicaid is not an option for

AstraZeneca—or the millions of Medicare and Medicaid patients who rely on its

drugs. So AstraZeneca filed this suit, arguing that CMS’s guidance violates the

Administrative Procedure Act (APA) and that both the Program and guidance violate

the Fifth Amendment’s Due Process Clause. The District Court granted summary

judgment for the government, finding that AstraZeneca lacks standing to raise its

APA claims and that the Due Process Clause does not apply here because

participation in Medicare is “voluntary.”

      That decision is wrong on all fronts. Standing is supported by the record:

AstraZeneca has been forced to reckon with CMS’s unlawful interpretation of the

statute while making decisions about how to develop its drug pipeline and in

applying the agency’s guidance now in deciding whether to agree on a price for

FARXIGA that will presumably apply indefinitely. As for the due process claim,

the District Court’s invented “voluntariness” exception is as wrong as it is dangerous.

There are scores of voluntary government programs, and the District Court’s novel




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rule provides a roadmap to price control by regulatory fiat, with no process due to

anyone.

       This Court should reverse.

                          JURISDICTIONAL STATEMENT

       The District Court had jurisdiction under 28 U.S.C. §§ 1331, 1346, 1361, and

2201-2202.      The District Court entered a final order denying AstraZeneca

Pharmaceuticals LP’s and AstraZeneca AB’s (collectively, “AstraZeneca”) motion

for summary judgment and granting the Government’s cross-motion on March 1,

2024, disposing of all claims. AstraZeneca timely appealed on April 29, 2024. This

Court has jurisdiction under 28 U.S.C. § 1291.

                            STATEMENT OF ISSUES

       1.      Whether AstraZeneca has standing to bring either or both of its APA

claims, where CMS’s Guidance directly affects AstraZeneca’s ability to make

current business decisions and to value its product in ongoing negotiations with the

agency, that Guidance caused AstraZeneca’s injuries, vacating that Guidance would

redress AstraZeneca’s injuries, and AstraZeneca is within the zone of interests

protected by the statute? See JA20-36.; ECF 21-1, at 14-21; ECF 58, at 3-16; ECF

61, at 2-9.1

       2.      Whether the Inflation Reduction Act’s (IRA) drug pricing provisions,


1
    All “ECF” cites refer to the District Court’s docket.

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as applied to AstraZeneca, violate the Fifth Amendment’s Due Process Clause?

JA36-46; ECF 19, at 28-32; ECF 21-1, at 44-48; ECF 58, at 44-50; ECF 61, at 24-

27.

          STATEMENT OF RELATED CASES AND PROCEEDINGS

      Several cases in this Circuit and other courts involve challenges to the IRA’s

drug pricing provisions, although many of the cases involve claims that do not

overlap with AstraZeneca’s. Those cases are:

             Bristol Myers Squibb Co. v. Becerra, No. 3:23-cv-3335 (D.N.J.), appeal
              docketed, No. 24-1820 (3d Cir.) (Takings and First Amendment) –
              consolidated with Janssen

             Janssen Pharms. v. Becerra, No. 3:23-cv-3818 (D.N.J.), appeal
              docketed, No. 24-1821 (3d Cir.) (Takings, First Amendment, and
              unconstitutional conditions) – consolidated with Bristol Myers Squibb

             Merck & Co. v. Becerra, No. 1:23-01615 (D.D.C.) (Takings and First
              Amendment)

             Dayton Area Chamber of Com. v. Becerra, 2023 WL 6378423 (S.D.
              Ohio Sept. 29, 2023) (separation of powers, Procedural Due Process,
              Excessive Fines, lack of legislative authority, and First Amendment)

             Boehringer Ingelheim Pharms., Inc. v. HHS, 2024 WL 3292657 (D.
              Conn. July 3, 2024) (Procedural Due Process, Takings, First
              Amendment, Excessive Fines, Unconstitutional Conditions, and APA
              notice-and-comment)

             Novartis Pharms. v. Becerra, No. 3:23-cv-14221 (D.N.J.) (Takings,
              Excessive Fines, and First Amendment)

             Novo Nordisk Inc., et al. v. Becerra, No. 3:23-cv-20814 (D.N.J.) (First
              Amendment, APA, and ultra vires)

             Nat’l Infusion Ctr. Ass’n v. Becerra, No. 1:23-cv-707, 2024 WL


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             561860 (W.D. Tex. Feb. 12, 2024), appeal docketed, No. 24-50180 (5th
             Cir.) (argued May 1, 2024) (separation of powers, Excessive Fines, and
             Procedural Due Process)

                          STATEMENT OF THE CASE

      A.     STATUTORY AND REGULATORY FRAMEWORK

             1.     Medicare, drug pricing, and exclusivity periods.

      “The federal government dominates the healthcare market” and “pays for

almost half the annual nationwide spending on prescription drugs.” Sanofi Aventis

U.S. LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023). Medicare is the nation’s largest

healthcare program with more than 67 million members overall. CMS, Medicare

Enrollment Dashboard, https://perma.cc/2RBC-6FSH (last visited July 15, 2024).

Medicare Part B covers outpatient prescription drugs administered at a doctor’s

office or in a hospital outpatient setting by a health care professional. Prescription

drugs (outpatient), Medicare.gov, https://perma.cc/8MN4-JT4J (last visited July 15,

2024). Part D “is a voluntary prescription drug benefit program that subsidizes the

cost of prescription drugs and prescription drug insurance premiums for Medicare

enrollees.” United States ex rel. Spay v. CVS Caremark Corp., 875 F.3d 746, 749

(3d Cir. 2017). Typically, Part D covers self-administered drugs dispensed through

pharmacies. See CMS, Medicare Prescription Drug Benefit Manual, ch. 6, § 10.2

(rev. Jan. 15, 2016).

      Medicare Part D alone has about 54 million members. Medicare Enrollment

Dashboard, supra. Although Part D began as a comparatively small part of the

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prescription drug market, it now accounts for over $200 billion per year—more than

40% of prescription drug spending nationwide.        GAO, No. GAO-23-105270,

Medicare Part D: CMS Should Monitor Effects of Rebates on Plan Formularies and

Beneficiary Spending (Sept. 2023); Drug Spending, HHS, Officer of Inspector

General,          https://oig.hhs.gov/reports-and-publications/featured-topics/drug-

spending (last updated May 14, 2024).

      Drug manufacturers invest billions annually into discovering, developing, and

improving medications. Not every drug that a manufacturer invests in comes to

market—far from it. Manufacturers must continually make difficult decisions about

which compounds to pursue developing, put through preclinical testing and

controlled clinical trials, and ultimately submit to FDA for approval. The average

cost of bringing a single new drug to market is more than $2 billion and often takes

10 to 15 years. See, e.g., PhRMA, Research & Development Policy Framework (last

visited July 15, 2024), https://perma.cc/7YKB-CUQN; Deloitte, Seize the Digital

Momentum: Measuring the Return from Pharmaceutical Innovation 2022 at 12 (Jan.

2023).     Only one-third of approved therapies manage to cover their cost of

development, much less to provide an economic return significant enough to allow

for continued investment and innovation.       See John A. Vernon et al., Drug

Development Costs When Financial Risk Is Measured Using the FAMA-French

Three-Factor Model, 19 J. Health Econ. 1002, 1004 (2009).



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      The government has historically employed two primary strategies to

encourage manufacturers to invest the substantial time and money needed to develop

new drug products, including new uses of drugs subject to existing approvals:

market-based pricing and exclusivity periods.

      First, a market-based pricing approach ensures that manufacturers are fairly

compensated for their products, thereby enabling them to continue investing in new

products and innovations, which in turn provides improved outcomes for patients

and lowers the government’s long-term healthcare costs. Traditionally, Medicare

Part B and Part D both looked to market-based payment amounts for prescription

drugs—so much so that when Congress enacted Medicare Part D, it explicitly

prohibited the government from “interfer[ing] with the negotiations between drug

manufacturers and pharmacies and [private plan] sponsors.” 42 U.S.C. § 1395w–

111(i).

      Second, Congress has established various patent and regulatory exclusivity

periods during which brand-name drugs are protected from generic competition. See,

e.g., 21 U.S.C. § 355(c)(3)(E). Virtually all branded drugs eventually experience

generic competition to some degree, and entry of a generic into the market typically

results in an immediate decrease in the market share and pricing of the brand-name

drug. See FDA, Generic Competition and Drug Prices, https://perma.cc/AY95-

BTNM (last visited July 15, 2024). Rigorous enforcement of these protections is



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therefore essential to foster the continued investment necessary to develop and

market new drug products.

      Although a generic cannot be marketed during an exclusivity or applicable

patent period, the generic manufacturer can seek “tentative approval” of its drug. A

“tentative approval” means the application meets the requirements for approval, but

its final approval must be delayed until all patent or exclusivity periods have expired.

See 21 C.F.R. § 314.3. Seeking a tentative approval allows a generic manufacturer

to significantly expedite the final approval process once the exclusivity and patent

periods lapse so that the generic can immediately begin competing with the branded

drug. See generally FDA, Paragraph IV Patent Certifications (July 8, 2024),

https://perma.cc/6CRQ-CMM5 (showing many generics are first marketed the same

day they are approved); see also JA105 ¶ 27.

             2.     The IRA’s Medicare Drug Price Negotiation Program.

      The    Medicare     Drug    Price Negotiation      Program    (the “Program”)

fundamentally transforms how prescription drug pricing works. The Program

authorizes CMS to bring the full coercive force of the government to bear in

“negotiating” maximum prices under Medicare for a set number of drugs each year.

Manufacturers that refuse to participate in this process must pay a draconian penalty

or withdraw every single one of their drugs from Medicare and Medicaid.

      The statute mandates several specific steps that CMS and manufacturers must



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follow leading up to the start of the price applicability period in order to select and

set the price for a certain number of drugs each year.

      First, CMS must identify “negotiation-eligible drugs.” Only qualifying single

source drugs are negotiation-eligible. The statute defines “qualifying single source

drug” as a “covered part D drug” that (i) is FDA-approved and “is marketed pursuant

to such approval”; (ii) has been FDA-approved for at least seven years; and (iii) “that

is not the listed drug for any” generic drug “that is approved and marketed.” 42

U.S.C. § 1320f-1(e)(1)(A). The definition of “covered part D drug” cross-references

the definition for a “covered outpatient drug,” which in turn is based on whether the

product is approved pursuant to a distinct New Drug Application (NDA) or

Biologics License Application (BLA). Id. §§ 1395w-102(e)(1); 1396r–8(k)(2),

(k)(7)(A)(iv); see also 42 C.F.R. § 447.50.

      Second, CMS ranks all negotiation-eligible drugs according to the highest

total Medicare Part B or D expenditures over a designated 12-month period. See

JA08. CMS must then select a specified number of drugs for negotiation: ten drugs

with the highest Part D expenditures for 2026; 15 drugs with the highest Part D

expenditures for 2027; 15 drugs with the highest Part D or Part B expenditures for

2028; and 20 drugs with the highest Part D or Part B expenditures for 2029 and

beyond. 42 U.S.C. § 1320f-1(a)-(b), (d)(1), (e).

      Third, the manufacturer of a selected drug “shall . . . negotiate” the drug’s



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price with CMS. Id. § 1320f-3(a)(1). Nothing about this negotiation mirrors a

typical commercial negotiation, however.       For one, negotiation is mandatory:

Manufacturers must sign an agreement to participate in the negotiation process by a

date certain and have no meaningful opportunity to opt out. See id. §§ 1320f-

2, 1320f-6(a); 26 U.S.C. § 5000D; infra p.13. For another, although the IRA

nominally allows CMS and the manufacturer to jointly determine the “maximum

fair price,” it directs CMS to design and implement a “methodology” to “achieve the

lowest maximum fair price for each selected drug.” 42 U.S.C. § 1320f-3(b)(1).

Although that maximum price is capped at a fraction of certain reference prices, there

is no statutory minimum price—CMS can offer a price as low as one penny. Id.

§ 1320f-3(c)(1)(A).

      The statute sets forth a timeline dictating the dates on which CMS and

manufacturers must submit offers and counteroffers. CMS first makes an initial

written offer, which a manufacturer must accept or counter within 30 days. Id.

§ 1320f-3(b)(2). All negotiations “shall end” no later than August 31, 2024 for the

2026 initial price applicability year. Id. “If the parties have not agreed on a price

by that date, the manufacturer is deemed to be noncompliant and subject to” a host

of severe penalties. JA11.

      Finally, after the “negotiation” concludes, the manufacturer must provide that

drug at the “fair price” to a number of Medicare-eligible individuals and entities in



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perpetuity. Once a drug has been “selected,” it remains subject to the “negotiated”

price control even if it would no longer rank in the top of all negotiation-eligible

drugs. See 42 U.S.C. § 1320f-1(c)(2). Except for a very limited universe of

circumstances, selected drugs are subject to the same negotiation price indefinitely,

plus a nominal bump for inflation. See id. § 1320f-2(b), (3)(f). Any time a

manufacturer fails to make its drug available to Medicare beneficiaries at CMS’s

designated “maximum fair price,” the manufacturer is subject to a steep penalty of

ten times the price differential between the price used and the CMS-mandated price.

Id. § 1320f-6(a).

      The only real way to avoid the price control, once imposed, is if a generic

version of the drug “is approved or licensed” and “is marketed pursuant to such

approval or licensure.” Id. § 1320f-1(c)(1)(A). Even then, the generic must have

met these criteria for “at least 9 months” of a price applicability year. See id. Thus,

for a drug that was selected for inclusion in the 2026 list, if a generic is “approved

and marketed” between August 2, 2024 and March 31, 2026, the branded drug

remains subject to the price cap through December 31, 2026. JA109, 284. If the

generic is first “approved and marketed” between April 1, 2026 to March 31, 2027,

however, the branded drug remains subject to the price cap for an extra year—

through December 31, 2027. Id.

      Manufacturers that do not wish to participate in this Program are out of luck.



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Refusing to negotiate with CMS or to agree to CMS’s mandated price triggers a daily

escalating penalty beginning at 185% of the drug’s price and escalating to 1,900%.

See Cong. Rsch. Serv., No. R47202, Tax Provisions in the Inflation Reduction Act

of 2022 (H.R. 5376), at 4 tbl. 2 (Aug. 10, 2022); see 26 U.S.C. § 5000D(a)-(b); see

also Excise Tax on Designated Drugs; Procedural Requirements, 89 Fed. Reg.

55,507 (July 5, 2024). The only way to “suspen[d]” this oppressive penalty is to

acquiesce to CMS’s price or terminate “all applicable agreements” to sell every

single one of the manufacturer’s drugs under Medicare and Medicaid. See 26

U.S.C. § 5000D(c). That would substantially disrupt the manufacturer’s ability to

research and develop new products or to continue providing its existing products to

the other half of the country, given that Medicare and Medicaid account for 40% of

all U.S. prescription drug sales. See JA99-100 ¶ 11; supra p. 7. It would also leave

over half the country without access to any of the manufacturer’s medications.

      To make matters worse, the IRA deprives manufacturers of important

procedural protections on both the front and back ends of this process. The statute

mandates implementation by regulatory fiat, directing CMS to implement the

Program through guidance “for 2026, 2027, and 2028.” 42 U.S.C. § 1320f note.

CMS has interpreted this language to mean it is not required to provide notice or an

opportunity for comment prior to promulgating guidance. See JA126-129. The IRA

likewise withholds notice of the contents of the forced-sale “agreement.” See 42



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U.S.C. §§ 1320f-2(a), 1320f-3(a). Moreover, CMS—the agency with the clearest

interest in negotiating the lowest price possible, no matter how “fair”—is the one

charged with negotiating the price cap. See id. § 1320f-3.

      On the back end, manufacturers that disagree with the selection of their drug

or with the price dictated by CMS have no recourse—judicial or otherwise. There

is no process for manufacturers to ask CMS to reconsider its decision that a product

meets the definition of “qualifying single source drug” or the price cap it has set.

The IRA also expressly precludes “administrative or judicial review” for key aspects

of the Program, including the “selection of drugs,” the “determination of

negotiation-eligible drugs,” the “determination of qualifying single source drugs,”

the “determination of a maximum fair price,” and the “determination of

renegotiation-eligible drugs.” 42 U.S.C. § 1320f-7.

            3.     CMS’s Guidance.

      On March 15, 2023, CMS issued an initial guidance document detailing how

the agency planned to execute these changes for the first year of the program. See

JA12. On June 30, 2023, CMS released another guidance document representing

the agency’s final word on implementation for the Program’s first year. See JA119-

316 (the “Guidance”).

      Two aspects of the Guidance are relevant here. First, CMS redefined the term

“qualifying single source drug.” The IRA defines that term as a drug that has been



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approved and marketed under its own NDA, provided that “at least 7 years will have

elapsed since the date of such approval” before the start of the relevant price

applicability year. 42 U.S.C. § 1320f-1(e)(1)(A); see 21 U.S.C. § 355(c); supra p.

10. In other words—and consistent with Congress’s recognition of the need to

incentivize manufacturers to invest in bringing new drugs to market—only those

drugs that have been on the market for at least seven years are eligible for a possible

price cap.

      In its Guidance, however, CMS expanded the definition of qualifying single

source drug to include “all dosage forms and strengths of the drug with the same

active moiety” (i.e., active ingredient) that a manufacturer has developed, including

“products that are marketed pursuant to different NDAs.” JA217 (emphasis added).

Drugs as disparate as those that treat irritable bowel syndrome with constipation and

those designed to reduce serum phosphorus in adults with chronic kidney disease on

dialysis uridine replacement will thus be collectively treated as one “qualifying

single source drug.” Ibsrela (NDA 211801), Prescribing Information (Apr. 2022),

https://perma.cc/C23E-JBVZ; Xphozah (NDA 213931), Prescribing Information

(Oct. 2023), https://perma.cc/G3ZL-YRA8; see also JA217.            That means that

Medicare expenditures on both products will be aggregated for purposes of ranking

the qualifying single source drug for selection for negotiation. The negotiated

“maximum fair price” will also apply across both products—including to a new



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product as soon as it is approved, irrespective of the statutory seven-year waiting

period.

      Second, CMS altered the statutory requirements that must be met before a

drug is deemed to have generic competition. Under the statute, a drug is not eligible

for negotiation if a generic version “is approved and marketed,” i.e., available for

purchase.     42 U.S.C. § 1320f-1(c)(1), (e)(1)(A)(iii); see Marketed, Merriam-

Webster’s Collegiate Dictionary 760 (11th ed. 2020).

      CMS’s Guidance adopts a new and fundamentally different test: CMS will

subjectively assess whether, under the “totality of the circumstances,” the generic

has been the subject of “bona fide marketing.” JA120 (emphasis added). To

determine whether a drug meets CMS’s new test, the agency will review various

data, including Prescription Drug Event (PDE) data. JA124. CMS will also consider

“[a]dditional relevant factors” which “may include” whether the generic “is

regularly and consistently available for purchase through the pharmaceutical supply

chain and whether any licenses or other agreements between a Primary Manufacturer

and a generic drug . . . manufacturer limit the availability or distribution of the

selected drug.” JA283. CMS did not explain what else it might look to in assessing

the “totality of the circumstances” or what threshold a manufacturer must meet to

prove “bona fide marketing.” Nor did CMS establish a set deadline by which it will

decide whether a particular drug has been subject to “bone fide marketing,” after the



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drug has been approved. On the contrary, CMS proclaimed that it will monitor this

data and retain discretion to determine at any time that a generic no longer satisfies

the agency’s amorphous “bona fide marketing” standard. JA196, 288.

      Although the Guidance technically only applies to initial price applicability

year 2026, CMS has since released a substantively identical draft guidance document

for price applicability year 2027. See CMS, Medicare Drug Price Negotiation

Program: Draft Guidance Implementation of Sections 1191 – 1198 of the Social

Security Act for Initial Price Applicability Year 2027 and Manufacturer Effectuation

of the Maximum Fair Price (MFP) in 2026 and 2027 (May 3, 2024). The final

guidance for 2027 will issue this fall. See CMS, Fact Sheet: Medicare Drug Price

Negotiation Program Draft Guidance for 2027 and Manufacturer Effectuation of

the Maximum Fair Price in 2026 and 2027, at 3 (May 2024).

      B.     FACTUAL AND PROCEDURAL HISTORY

             1.    The Program’s effects on AstraZeneca’s drug development and
                   investment decisions.

      AstraZeneca is a global, science-led, patient-focused pharmaceutical

company that manufactures numerous drugs.            AstraZeneca currently has 182

projects in its drug-development pipeline.             AstraZeneca, Our pipeline,

https://perma.cc/BU7Y-9F2L (last updated April 25, 2024). Many of AstraZeneca’s

products specifically serve those patients that are most likely to be on Medicare and

Medicaid—the elderly, chronically ill, and those with serious and rare conditions.


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See JA100 ¶ 12. “Medicare and Medicaid collectively account for approximately

more than 40% of AstraZeneca’s gross revenues in the U.S.” JA100 ¶ 13.

      AstraZeneca invests substantial time and resources to develop new drugs with

active ingredients that have not previously been approved, known as innovator drugs.

One example is FARXIGA® (dapagliflozin)—a first-in-class, highly effective

treatment for diabetes, heart disease, and chronic kidney disease. See JA15. FDA

originally approved FARXIGA in 2014 for use in treating Type 2 diabetes. JA101-

102 ¶ 17. Since then, AstraZeneca has continued investing in FARXIGA, resulting

in several subsequent FDA approvals to treat a variety of diseases. Id. At the time

AstraZeneca filed suit, FDA had granted tentative approval to 17 generic versions

of FARXIGA, slated to come to market between October 2025 and Summer 2026.

See JA15. FDA subsequently granted tentative approval to one additional generic

and extended the exclusivity period, such that a generic will now come to market

between April 4, 2026 and Summer 2026. See FDA, Product Details for NDA

202293, Orange Book: Approved Drug Products with Therapeutic Equivalence

Evaluations, https://perma.cc/U82Z-UHR9.

      AstraZeneca is also constantly looking for ways to improve other drug

products. Take LYNPARZA® (olaparib), a cancer medication. LYNPARZA was

initially approved in capsule form in 2014. JA104 ¶ 24. AstraZeneca subsequently

developed a tablet formulation that was better tolerated by patients and more



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convenient, which FDA approved under a separate NDA in 2017. Id. AstraZeneca’s

drug CALQUENCE® (acalabrutinib) has a similar story—it was first approved in

2017 in capsule form, but AstraZeneca later invested substantial resources to

develop a tablet form which was approved under a separate NDA in 2022 in order

to expand the patient population. Id. ¶ 25.

      Drugs like FARXIGA, which has already been selected for the Program, and

LYNPARZA and CALQUENCE, which may well be selected in the future, help

“fund the bulk of AstraZeneca’s research and development capabilities.” JA90

¶ 118; see also JA105-106 ¶¶ 29-30.           In response to the Program, however,

AstraZeneca has already been forced to “take significant steps to fundamentally

reposition its business operations and investments in pipeline products.” JA89 ¶ 113;

see also JA 106 ¶ 30. This includes both current and future operations. For example,

“[l]ike other manufacturers, AstraZeneca is making the painful decision to suspend

ongoing research and development activities” because of diminished incentives to

“research and develop[] new treatment applications for existing drugs.” JA90 ¶ 118;

see also JA104-106 ¶¶ 26, 28, 30. AstraZeneca has also been forced to “reckon[]

with the delayed launch of cancer drugs” and to shelve other “product development

plans . . . entirely.” JA90 ¶ 119; see also JA106 ¶ 32.

             2.    CMS selects FARXIGA for price applicability year 2026.

      In August 2023, CMS announced the ten drugs it had selected for 2026, the



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first price applicability year. FARXIGA was on that list. JA15. As mandated by

statute, AstraZeneca signed the negotiation agreement and has been “negotiating”

with CMS. See JA17. The “maximum fair price” will become effective beginning

January 1, 2026. See JA210.

             3.     AstraZeneca files suit and the District Court grants summary
                    judgment for the Government.

      AstraZeneca challenged CMS’s Guidance as violating the APA and the

Program itself as violating AstraZeneca’s due process rights. AstraZeneca explained

that CMS’s Guidance contravenes the plain text of the IRA, and that it has been

forced to account for CMS’s Guidance in making important decisions about whether

to pursue the research, development, and marketing of certain drugs and in deciding

how to value its products when negotiating with CMS over FARXIGA’s price cap.

See JA67-91. AstraZeneca further explained that the Program deprives AstraZeneca

of its “investment-backed patent rights” without providing “[e]ven the most

rudimentary . . . procedural safeguards.” JA94.

      AstraZeneca moved for summary judgment. ECF 19. The government cross-

moved for summary judgment, asserting that AstraZeneca lacked standing to pursue

its APA claims, that those claims were subject to the judicial-review bar, and that all

of AstraZeneca’s claims failed on the merits. ECF 21-1. The government did not

dispute that AstraZeneca has standing to pursue its due process claim. See id.; see

also ECF 66.


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      The District Court granted the government’s motion for summary judgment

and denied AstraZeneca’s. According to the court, AstraZeneca lacks standing for

its APA claims because neither of the two challenged aspects of CMS’s Guidance

“have had any bearing on CMS’s decision to designate Farxiga as a selected drug.”

JA21. The District Court waved away the company’s concerns that it had been

forced to adapt its investment and marketing strategies today on the assumption that

CMS’s Guidance would govern in the future, theorizing that it was unclear what

effects CMS’s decisions might have at some later point and that AstraZeneca could

not “credibly argue that it is unable to understand the Guidance or how [it] applies.”

See JA22-35. The court did not reach the government’s alternative argument that

the IRA’s judicial-review bar applied to AstraZeneca’s APA claims or adjudicate

those claims on the merits. See JA36.

      The District Court also rejected AstraZeneca’s procedural due process claim

on the merits, theorizing that the Due Process Clause does not apply here because

“participation in the Medicare program is a voluntary undertaking.” JA43 (quotation

omitted). In the District Court’s view, the government may administer the Program

without providing manufacturers like AstraZeneca due process because no law

“requires” a manufacturer “to sell its drugs to Medicare beneficiaries.” Id.

      This appeal followed.




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                            STANDARD OF REVIEW

      This Court “review[s] a district court’s grant of summary judgment in a case

brought under the APA de novo, applying the applicable standard of review to the

underlying agency decision.” Louisiana Forestry Ass’n Inc. v. Sec’y U.S. Dep’t of

Lab., 745 F.3d 653, 668-669 (3d Cir. 2014) (quotation marks and brackets omitted).

Under the APA, this Court “must set aside an agency action that is ‘arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.’ ” Id. at

669 (quoting 5 U.S.C. § 706(2)(A)).

                           SUMMARY OF ARGUMENT

      I.       AstraZeneca has standing to raise its APA claims. First, AstraZeneca

has suffered injury-in-fact from CMS’s unlawful Guidance. AstraZeneca faces

injury to its ability to make business decisions about which products to invest in and

market and has had to adjust its strategies accordingly. As a result of CMS’s

Guidance, AstraZeneca must consider whether to continue investing in developing

additional uses of active moieties in already-approved drug products, knowing those

products would not receive the benefit of the seven-year statutory exemption from

the price cap. AstraZeneca must likewise account for the risk that CMS’s subjective

application of the extra-statutory “bona fide marketing test” will subject it to a

simultaneous price cap and generic competition. The company must consider these

risks today in making investment decisions for the future.



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      For these same reasons, CMS’s Guidance directly affects AstraZeneca’s

negotiating position with respect to FARXIGA. The price set for FARXIGA will

apply to the drug for years, and AstraZeneca has had to apply the agency’s unlawful

definitions now in deciding whether and how to negotiate with CMS. The District

Court’s contrary decision fundamentally misunderstood AstraZeneca’s theory of

injury and was legally incorrect.

      Second, AstraZeneca’s injuries are caused by CMS’s Guidance and

redressable by a decision vacating that Guidance. Where a plaintiff is the object of

agency action, causation is straightforward. The same is true of redressability when

the agency’s rule causes the injury. That is the case here.

      Third, AstraZeneca has prudential standing because it is within the zone of

interests that the IRA regulates.

      II.     The Program violates the Due Process Clause because it deprives

AstraZeneca of property interests without providing due process.

      First, the Program deprives AstraZeneca of core property interests by

reclaiming some of the rights conferred by FARXIGA’s patent. A patent is a bargain

between an inventor and the government:          In return for investing in creating

innovative products, an inventor obtains the exclusive right to sell a patented

invention for a limited time to recoup its investment costs. AstraZeneca maintains

a property interest in that patent right.



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      Second, the Program does not provide AstraZeneca due process. The Due

Process Clause protects the opportunity to be heard at a meaningful time and in a

meaningful manner, but the Program provides no such opportunity. On the front

end, manufacturers do not sign up for participation in the Program; they are selected

for negotiation by the government. On the back end, the Program bars administrative

or judicial review of many of CMS’s key decisions. The program also denies

AstraZeneca an impartial adjudicator. CMS—the agency with a vested interest in

paying the lowest price possible—is the one charged with adjudicating whether a

drug qualifies for negotiation and setting the applicable price cap.

      Third, the District Court’s “voluntariness” exception to the Due Process

Clause is both wrong and dangerous. Even if the Program, which functionally

mandates compliance through oppressive fines and unrealistic opt-out requirements,

could fairly be called “voluntary,” the mere fact that participation in a government

program is voluntary does not mean the government can dispense with due process.

Indeed, the Supreme Court and this Court have repeatedly applied the Due Process

Clause in the context of voluntary government programs. The District Court reached

a contrary conclusion by relying on cases from the takings context, a different type

of claim not at issue here. Moreover, accepting the District Court’s “voluntariness”

theory would fundamentally upend public-private relationships nationwide by




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allowing the government to impose price controls by fiat with no due process

whatsoever.

                                     ARGUMENT

   I.        ASTRAZENECA HAS STANDING FOR ITS APA CLAIMS.

        Courts assess standing as of the time the plaintiff filed suit and, in so doing,

must assume the plaintiff will prevail on the merits. Davis v. FEC, 554 U.S. 724,

734 (2008); Cottrell v. Alcon Lab’ys, 874 F.3d 154, 162 (3d Cir. 2017). Article III

standing requires (1) an injury-in-fact (2) that is fairly traceable to the challenged

action, and (3) likely redressable by a favorable decision. Davis, 554 U.S. at 733.

In APA cases, the challenger must also show prudential standing, meaning its

interests are “arguably within the zone of interests to be protected or regulated by

the statute that [it] says was violated.”        Match-E-Be-Nash-She-Wish Band of

Pottawatomi Indians v. Patchak, 567 U.S. 209, 224 (2012) (quotation marks and

citation omitted). AstraZeneca satisfies all of these requirements.

        A.     AstraZeneca satisfies the injury-in-fact requirement.

        Injury-in-fact requires showing “an invasion of a legally protected interest that

is concrete and particularized and actual or imminent, not conjectural or

hypothetical.” Cottrell, 874 F.3d at 162-163 (cleaned up). “That ‘actual or imminent’

is disjunctive is critical: it indicates that a plaintiff need not wait until he or she has

actually sustained the feared harm in order to seek judicial redress.” Clemens v.

ExecuPharm Inc., 48 F.4th 146, 152 (3d Cir. 2022). Allegations of future injury

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accordingly “suffice if the threatened injury is certainly impending or there is a

substantial risk that the harm will occur.” Id. (quotation marks and citation omitted).

      “[T]he injury-in-fact requirement” is “very generous” to claimants, who need

only allege some “specific, identifiable trifle of injury or a personal stake in the

outcome of the litigation.” In re Glob. Indus. Techs., Inc., 645 F.3d 201, 210 (3d

Cir. 2011) (en banc) (quotation marks and citations omitted). “[T]he question is

simply whether” the plaintiff has a “legally protected interest[] that could be affected”

by the challenged action. Id. at 212. AstraZeneca clears that minimal hurdle.

             1.     AstraZeneca’s injuries are legally sufficient to confer standing.

      AstraZeneca faces actual or imminent injury to its “ability to make business

decisions about the products it will offer in the market” as a result of CMS’s

challenged decisions. Sabre, Inc. v. Dep’t. of Transp., 429 F.3d 1113, 1117 (D.C.

Cir. 2005). A regulated entity suffers injury where agency action creates a present-

day obligation to “adjust its finances and investment strategy to prepare for” future

potential risks. See Great Lakes Gas Transmission Ltd. P’ship v. FERC, 984 F.2d

426, 431 (D.C. Cir. 1993). “[T]o find otherwise would ignore the reality of the long-

range economic planning involved in the sound management of an enterprise,” id.,

especially in the pharmaceutical industry, given the substantial time and resources

required to develop and market a new drug, see JA98-99 ¶7; supra p. 7.




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      CMS’s unlawful Guidance causes actual and imminent injury to

AstraZeneca’s business decision-making abilities, both with respect to FARXIGA

and AstraZeneca’s broader portfolio. Start with the decision to treat multiple drugs

approved under separate NDAs as one qualifying single source drug. The IRA’s

definition of “qualifying single source drug” cross-references the definition for a

“covered part D drug” in the Medicare statute. 42 U.S.C. § 1320f-1(e)(1). That

definition, in turn, cross-references the definition for a “covered outpatient drug” in

the Medicaid Drug Rebate Program statute. Id. § 1395w-102(e)(1). Under that

definition, whether a single source drug is a distinct “covered outpatient drug” is

based on whether the product is approved pursuant to a distinct NDA or BLA. Id.

§§ 1396r–8(k)(2), (k)(7)(A)(iv); see also 42 C.F.R. § 447.50. Under the IRA, a

“qualifying single source drug” is therefore a drug that has been approved and

marketed under its own NDA; such drugs cannot be selected for price negotiation

for seven years following approval. 42 U.S.C. § 1320f-1(e)(1)(A).

      CMS’s Guidance, however, defines “a drug” to include every product that

manufacturer markets that has the “same active moiety,” even if approved under

different NDAs. JA217. CMS’s definition thus lumps together drugs that have

different indications, strengths, or dosages, such that FDA has determined that they

are fundamentally different products. As a result, where a drug manufacturer already

has one drug under an existing NDA and invests the energy and funds to develop



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and market a different drug under a different NDA, those two distinct products will

now be considered one “drug” for purposes of the Program.

      That directly affects AstraZeneca’s ongoing research, development, and

marketing activities.   In line with its patient-focused, science-led approach,

AstraZeneca has traditionally “invest[ed] significant time and money” in “explor[ing]

new potential uses of the active moieties of its already-approved drug products.”

JA98-99, 101 ¶¶ 7, 16; see also JA104 ¶¶ 24-25. Indeed, AstraZeneca is currently

engaged in such efforts for FARXIGA and other drugs, some of which are potential

candidates for selection in upcoming program years. JA103-104, 106 ¶¶ 23-25, 30.

      As noted, however, the average cost to bring a new drug to market exceeds $2

billion, and only one-third of therapies approved for patient use can cover their

development costs—much less make enough money to fund further investment and

innovation.   Supra p. 7.      CMS’s Guidance further shifts that balance to

manufacturers’ disfavor because a new product marketed under a different NDA can

immediately be subject to an existing price cap for a drug with the same active

moiety. AstraZeneca must take this into account in making business decisions about

its research and development pipeline, for FARXIGA and every other product. See

JA101, 103-106 ¶¶ 15-16, 23-26, 29-32; see, e.g., Shays v. FEC, 414 F.3d 76, 86

(D.C. Cir. 2005) (finding standing where challenged rule required “anticipat[ing]

and respond[ing] to a broader range of competitive tactics than federal law would



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otherwise allow”); Vote Choice, Inc. v. DiStefano, 4 F.3d 26, 37 (1st Cir. 1993)

(same, where a “coerced choice . . . colored [the plaintiff’s] strategy from the

outset”).

       AstraZeneca must likewise account for these risks in deciding whether to

continue marketing existing products, like the one FDA approved in August 2022

that contains the same active moiety as CALQUENCE. See JA104-105 ¶¶ 25-26.

FDA viewed those products as different enough to warrant unique NDAs, and by

operation of the plain statutory text, the IRA would treat them as such. Under the

IRA, that drug would therefore be exempt from the Program’s price cap through

2032. See 42 U.S.C. § 1320f-1(e)(1)(A)(ii). Under CMS’s Guidance, however, the

price cap could apply as early as 2027. See, e.g., Shays, 414 F.3d at 85 (finding

standing where “basic economic logic” indicates agency’s decision will affect

litigant’s strategy).

       Applying CMS’s definition also has the potential to affect products’

placements on CMS’s ranked list. Combining the gross covered drug costs of

AstraZeneca’s products approved under multiple distinct NDAs increases the odds

CMS will select those drugs for “negotiation.” See JA104-105 ¶¶ 24-27. On the flip

side, separating other manufacturers’ gross costs out by each discrete NDA, as the

statute mandates, may well bump AstraZeneca’s drugs further down—or even off—




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the possible negotiation list. Absent a court order, however, AstraZeneca must

proceed as if CMS’s definition governs and structure its decisionmaking accordingly.

      AstraZeneca has also suffered injury-in-fact by virtue of the 2026 Guidance’s

unlawful “bona fide marketing” requirement.           By statute, when a generic is

“approved and marketed,” the branded drug is ineligible for price control. 42 U.S.C.

§ 1320f-1(e)(1)(A)(iii). A previously selected drug also becomes ineligible for

continued price controls based on when a generic is “marketed.” 42 U.S.C. § 1320f-

1(c)(1)(B). “Marketing ordinarily refers to the act of holding forth property for sale”

and “does not require that the promotional or merchandising activities connected

with the selling be extensive.” Asgrow Seed Co. v. Winterboer, 513 U.S. 179, 187

(1995); see Marketed, Merriam-Webster’s Collegiate Dictionary 760 (available for

purchase; up for sale). The key cut-off date is April 1, 2026—if a generic is available

for purchase prior to that date, the selected drug is ineligible for the 2027 price-

capped list; if it becomes available for purchase after that date, the selected drug can

stay on the list until 2028. See JA284.

      When AstraZeneca filed suit, it was all but certain that generic competition

for FARXIGA would begin between October 2025 and Summer 2026. JA105 ¶ 27.

A generic that came to market on March 31, 2026 should immediately trigger

§ 1320f-1(c)(1)’s de-selection provision. That is not the case under CMS’s “bona

fide marketing” standard, which CMS will assess based on “the totality of the



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circumstances,” including by relying on PDE data that can be delayed by months.

See JA194 (admitting PDE data may not immediately capture generic sales). CMS’s

Guidance thus threatens to harm AstraZeneca by impermissibly resulting in a price

cap on drugs that are also subject to generic competition, and by keeping drugs on

the selected list longer than they should be under the statutory test.

      AstraZeneca “must . . . account for” these risks in shaping its broader

investment strategy. See, e.g., Shays, 414 F.3d at 91. For FARXIGA and more

generally, AstraZeneca must weigh whether it can withstand both a government-

imposed price cap and stiff generic competition in evaluating future investment

opportunities, whether to develop additional uses of existing drugs, and more. See

JA105-106 ¶¶ 28, 32. Cf. In re Glob. Indus. Techs., 645 F.3d at 213-214 (finding

injury-in-fact where decision puts plaintiff at “a tangible disadvantage,” even if

“ultimate liability is contingent”); Bristol-Myers Squibb Co. v. Shalala, 91 F.3d 1493,

1498-99 (D.C. Cir. 1996) (same, where brand-name drug alleged injury from

“exposure to competition” based on generic’s tentative approval).

      These are not mere “some day intentions.” Lujan v. Defs. of Wildlife, 504 U.S.

555, 564 (1992).      AstraZeneca is considering CMS’s Guidance in “mak[ing]

decisions now” as it plans for “drug development and commercialization for years

to come,” and there is at least a “substantial risk” that it will continue to do so moving

forward. JA99-100 (emphasis added), 104-106 ¶¶ 11, 26, 28, 30, 32; see also JA90-



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91 ¶¶ 119-120. As AstraZeneca’s declarant explained, “[o]ver the next three years,

CMS will select up to 50 additional drugs to be eligible for the Drug Price

Negotiation Program. That selection process will very likely sweep up more of

AstraZeneca’s drug products.”       JA105-106 ¶ 29.          “Thus, even pre-selection,

AstraZeneca has to make investment decisions now on research [and] development

of follow-on therapies for new indications and improvements to the drug itself,”

based on “the agency policies currently in place.” JA 106 ¶¶ 30, 32; see also, e.g.,

VitalTransformation,     IRA’s    Impact    on   the    US     Biopharma    Ecosystem,

https://perma.cc/SXE6-WY84        (explaining    that   the     Program    has   forced

manufacturers to “significantly narrow investment opportunities,” leaving “as many

as 139 drugs over the next 10 years . . . at risk of not being developed at all”).

      For all these reasons, CMS’s re-interpretation of the IRA’s text also directly

affects AstraZeneca’s ability to value FARXIGA for purposes of deciding whether

to participate in the Program.

      When AstraZeneca filed suit, it was making decisions about whether to agree

to the government’s proffered “maximum fair price” that will apply to FARXIGA

for years to come. JA99-100 ¶ 11. “[A]bsent judicial intervention, AstraZeneca”

has “had no choice but to” base its decisions “on the policies that CMS has

announced will apply.” JA99-100, 106 ¶¶ 11, 31. That requires weighing (among

other things): the financial implications of having a future drug approved under a



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separate NDA immediately subjected to an existing price cap simply because it

shares the same active moiety as FARXIGA; the risk that AstraZeneca will

simultaneously be subject to a price cap and generic competition for an extended

period of time; the “enormous financial consequence” and harms to patients of

withdrawing all of AstraZeneca’s drug products from Medicare and Medicaid if it

refused to agree to the mandatory price cap for FARXIGA; the lead-time required

to implement an opt-out decision; and the egregious penalties associated with failing

to timely withdraw. See JA99-101, 104-105 ¶¶ 11-16, 26-28. The Guidance thus

had “immediate[ and] unavoidable” effects on AstraZeneca’s negotiating position.

Sabre, 429 F.3d at 1118; id. at 1119 (finding standing where agency’s statutory

interpretation “shapes the competitive environment”); see, e.g., Clinton v. City of

New York, 524 U.S. 417, 432 (1998) (deprivation of a “statutory bargaining chip”

creates “a sufficient likelihood of economic injury to establish standing”).

      Because it is “reasonably certain” that CMS’s Guidance is or will have

“implications for [AstraZeneca’s] business choices and investments,” AstraZeneca

satisfies the injury-in-fact requirement for its APA challenges. Sabre, 429 F.3d at

1118-19; see also Shays, 414 F.3d at 91 (where agency action “color[s]” a regulated

entity’s “strategy from the outset,” “there is no need to wait for injury from specific

transactions to claim standing”) (quotation marks and citation omitted).




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             2.     The District Court wrongly concluded that AstraZeneca had not
                    shown injury-in-fact.

      None of the District Court’s four reasons for finding AstraZeneca lacked

standing to raise its APA challenges withstand scrutiny.

      First, the District Court devoted a spare two paragraphs to AstraZeneca’s

argument that, as a result of CMS’s Guidance, it cannot fairly value its products as

required to negotiate with CMS and engage in future planning. The court rejected

that theory, decreeing that “[o]f course” AstraZeneca “understand[s] the Guidance

or how the Guidance applies as written to Farxiga,” given that AstraZeneca

described these issues in detail in its complaint and briefing. JA35. In the court’s

view, “[t]he only uncertainty relating to the Guidance comes from the filing of this

lawsuit.” Id.

      That misses the point. AstraZeneca cannot fairly value its product without a

judicial determination of whether the Guidance is unlawful. Absent such a decision,

AstraZeneca must operate under the assumption that CMS’s Guidance will stand and

act accordingly. CMS’s flawed interpretation of the IRA therefore directly affects

the company’s ability to make decisions now and in the future. Moreover, insofar

as the court suggested that the Guidance’s interpretation of the IRA is clearly correct

such that AstraZeneca could have fairly valued FARXIGA or made future decisions

had it not filed suit, that violates black-letter law. Courts must accept the validity of

the plaintiff’s merits arguments in assessing standing, lest they “thwart a major


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function of the standing doctrine—to avoid premature judicial involvement in . . .

the merits.” Cottrell, 874 F.3d at 164 (quotation marks and citation omitted).

      Nor is this case like Fair Housing Council of Suburban Philadelphia v.

Montgomery Newspapers, 141 F.3d 71 (3d Cir. 1998), the District Court’s lone

citation. JA35. In Fair Housing Council, this Court held that “litigation expenses

alone do not constitute damage sufficient to support” organizational standing on a

diversion-of-resources theory. 141 F.3d at 79. AstraZeneca is not claiming harm

from the need to litigate this lawsuit; AstraZeneca needs to litigate this suit because,

absent a judicial decision setting aside the Guidance, it will likely suffer harm from

CMS’s challenged decisions, both individually and combined.

      Other portions of the District Court’s analysis drive home the combined harm

AstraZeneca faces from CMS’s two unlawful actions. The District Court elsewhere

theorized that, by the time a new NDA for the same active moiety as FARXIGA is

approved, it is “highly []likely that Farxiga [will] have generic competition” and

therefore no longer “meet the definition of a qualifying single source drug.” JA26.

Because of CMS’s unlawful “bona fide marketing” requirement, however,

AstraZeneca cannot be sure whether that speculative assertion will come to pass. In

fact, under the Guidance, CMS could determine at any time that a generic no longer

satisfies its subjective “totality of the circumstances” “bona fide marketing”

requirement—even if CMS had previously decided a generic did meet that test. See



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JA196, 288.     More, the judicial-review bar would prevent AstraZeneca from

challenging that determination, even if CMS has no supporting data, fundamentally

misreads the data, or renders its decision mere minutes before the deadline. See 42

U.S.C. § 1320f-7(2).     AstraZeneca must therefore proceed on the basis that

FARXIGA and any drugs with the same active moiety approved under a new NDA

will remain subject to the price cap indefinitely, even while facing generic

competition.

      Second, the District Court was wrong to reject AstraZeneca’s injuries to its

decision-making abilities as divorced from the Guidance. The court’s one-paragraph

explanation was that “[t]he Guidance is only for the 2026 price period, and Farxiga

is the only AstraZeneca drug selected for that period,” so it cannot affect

AstraZeneca’s “decision-making about other drugs.” JA33.

      That reasoning is as faulty as it is thin. Although the consequences of

AstraZeneca’s decisions may not directly manifest until 2027 or beyond,

AstraZeneca is making those decisions now. For example, AstraZeneca must

account for CMS’s Guidance in “mak[ing] investment decisions now on research

[and] development of follow-on therapies for new indications and improvements” to

CALQUENCE, a leading leukemia medicine. JA104, 106 ¶¶ 25, 30; accord JA106

¶ 32. Because the company must rely on CMS’s Guidance today in making future-

focused business decisions, and there is at least a substantial risk that will continue



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in the future, AstraZeneca has suffered injury-in-fact.        See Great Lakes Gas

Transmission Ltd. P’ship, 984 F.2d at 431; Sabre, 429 F.3d at 1117.2

      Third, the District Court’s treatment of AstraZeneca’s specific injuries from

CMS’s redefinition of “qualifying single source drug” fares no better. The District

Court rejected this argument on the theory that AstraZeneca had merely alleged a

diminished “incentive” to “look for additional uses of FARXIGA’s single-ingredient

active moiety,” which was neither sufficiently concrete nor “certainly impending.”

JA22-23 (quotation marks and citation omitted).

      The court’s concreteness analysis misunderstands AstraZeneca’s theory. As

explained, the harm is to AstraZeneca’s business decision-making, not its incentives

to carry those decisions through. The District Court’s insistence on certainly

impending injury also misstates the law. As this Court has held, “allegations of

future injury ‘suffice if the threatened injury is certainly impending or there is a

substantial risk that the harm will occur.’ ” Clemens, 48 F.4th at 152 (quoting Susan

B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)) (emphasis added). In other

words, “plaintiffs are not required to demonstrate that it is literally certain that the

harms they identify will come about”; “a realistic danger of sustaining a direct injury”

will suffice. Id. at 152-153 (quotation marks and citations omitted).


2
  The court’s conclusion that any negative effect on decisionmaking occurring
“beyond 2026 also fails to meet the causation and redressability requirements” fails
for the same reasons. JA33.

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      There is a substantial risk that CMS’s unlawful interpretation of qualifying

single source drug has harmed or will harm AstraZeneca’s ability to make business

decisions—including which products to invest in researching and developing and its

valuation of FARXIGA. The District Court did not address this theory, instead

rejecting AstraZeneca’s arguments as based on a series of “ifs” about whether and

when FDA might approve an NDA based on the same active moiety as FARXIGA.

JA24-25. To be clear: this is not a question of ifs; CMS’s unlawful interpretation is

directly affecting AstraZeneca’s decision-making abilities—with respect to

FARXIGA and a host of other products. See JA101, 105-106 ¶¶ 16, 29; ECF 58 at

7-8; supra pp. 27-33.

      The District Court’s acknowledgment that it can take decades to go from

development to approval and that “very few early drug candidates are ever approved

or commercialized” proves the point. JA25. The court invoked this as support for

the idea that “AstraZeneca’s stated harm is . . . extremely unlikely to occur,” but the

opposite is true. See JA24. Because drug development has such a long lead time

and is not guaranteed to succeed, AstraZeneca must evaluate the costs and benefits

of investing in pipeline products well in advance. By restricting AstraZeneca’s

ability to price and value its product, CMS’s Guidance is affecting those decisions

today, even if the consequences will not immediately come to pass. See JA101 ¶ 16;

see, e.g., Vill. of Bensenville v. FAA, 376 F.3d 1114, 1119 (D.C. Cir. 2004) (finding



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injury-in-fact where agency authorized a fee that would affect petitioner’s budget

planning, even though the fee would not be collected for thirteen years).

      For these same reasons, it is immaterial whether certain of FARXIGA’s

development efforts have not yet reached the clinical-trial phase. See JA25-26. In

fact, that is—again—precisely the point: AstraZeneca must make decisions now

about which of its many products to put into clinical trials. That decisionmaking

will look different under the statute as opposed to CMS’s Guidance.

      Fourth, the District Court erred in analyzing AstraZeneca’s injuries from

CMS’s unlawful imposition of a bona fide marketing requirement. According to the

court, (1) AstraZeneca had not shown “that a generic version of Farxiga will be on

the market before April 1, 2026”; (2) AstraZeneca had not shown that “a delay in

PDE [data] reporting would affect the timing of CMS’s” bona-fide marketing

determination because it was not clear that CMS would rely on that data or that this

data delay “would affect the timing of CMS’s determination that a generic drug met”

the statutory “marketed” requirement; and (3) AstraZeneca had not “established[]

that Farxiga will experience generic competition” at a “level insufficient to qualify

as bona fide marketing.” JA30-31.

      That is wrong—legally, factually, and logically. Legally, AstraZeneca is not

required to show that a generic “will” come to market on a specific date, that a delay

“would affect” CMS’s decision, or that FARXIGA “will experience” a specific level



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of competition. This Court has never demanded that level of certainty in analyzing

standing. See, e.g., Clemens, 48 F.4th at 152 (explaining that substantial risk

suffices).

      Factually, a delay in the PDE data will affect CMS’s determination. A generic

can immediately go to market once FDA converts its approval from temporary to

final, supra pp. 30-31, and nothing in the statutory text or plain meaning of

“marketed” requires CMS to consult PDE data. Under the Guidance, however, CMS

“will . . . review[] the PDE” data before determining whether a generic has engaged

in bona fide marketing. See JA283.

      Logically, it is impossible for AstraZeneca to “establish[]” that some generics

will be available on the market but may not meet CMS’s know-it-when-you-see-it

test. That is, after all, one of the very reasons AstraZeneca challenged CMS’s

amorphous standard to begin with. Thus, even if the ultimate “outcome” of CMS’s

bona fide marketing inquiry is “speculative,” CMS’s decision to fundamentally alter

the key decision-making framework caused a sufficient injury. See Clinton, 524 U.S.

at 430-431 (decision imposing “contingent liability” that “directly affects . . . fiscal

planning” constitutes injury-in-fact, even if the liability could ultimately be waived).

      B.     AstraZeneca’s injuries are traceable to CMS’s Guidance and
             redressable by a decision setting aside that Guidance.

      AstraZeneca’s injuries are traceable to CMS’s qualifying single source drug

definition and “bona fide marketing” requirement. “When a petitioner itself is the


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object of the challenged agency action, there usually is little doubt of causation.”

Exhaustless Inc. v. FAA, 931 F.3d 1209, 1212 (D.C. Cir. 2019) (citing Lujan, 504

U.S. at 561-562). CMS’s Guidance directly regulates companies like AstraZeneca

whose drugs have been selected for inclusion in the Program. That Guidance is

causing AstraZeneca harm now. The causation requirement is accordingly met.

      Likewise, a decision setting aside CMS’s Guidance would “likely redress[]”

AstraZeneca’s injuries. Yaw v. Delaware River Basin Comm’n, 49 F.4th 302, 310

(3d Cir. 2022). “Where an agency rule causes the injury, as here, the redressability

requirement may be satisfied by vacating the challenged rule.” Ctr. for Energy &

Econ. Dev. v. EPA, 398 F.3d 653, 657 (D.C. Cir. 2005) (quotation marks and

alterations omitted). An order setting aside the Guidance and declaring it unlawful

would provide AstraZeneca clarity for the Program negotiations and its business

decisions.

      C.     AstraZeneca has prudential standing.

      The prudential standing test is “not meant to be especially demanding,”

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians, 567 U.S. at 225

(quotation marks and citation omitted), and AstraZeneca easily satisfies it. Congress

enacted the IRA to force manufacturers, like AstraZeneca, into a “negotiation” with

CMS over price caps for their products. In crafting the statute, Congress set specific,

calculated limits on which drugs would qualify for price caps and when the presence



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of a generic would trigger an exemption. AstraZeneca’s interests are therefore

protected and regulated by the IRA.

II.   THE PROGRAM VIOLATES THE DUE PROCESS CLAUSE.

      A.     The Program deprives AstraZeneca of property interests without
             providing due process.

      Under the Fifth Amendment’s Due Process Clause, “[n]o person shall be . . .

deprived of life, liberty, or property, without due process of law.” U.S. Const. amend.

V. The government violates due process when: (1) it “deprive[s]” a person of a

“liberty or property interest,” and (2) the “procedures [it] followed” in effecting that

deprivation were insufficient. Swarthout v. Cooke, 562 U.S. 216, 219 (2011).

      The Program violates the Due Process Clause. First, it infringes the rights

conferred by FARXIGA’s patents and statutory exclusivity periods. Second, in

committing those property deprivations, the government provided none of the

process the Constitution requires.

             1.     The Program deprives AstraZeneca of protected property
                    interests.

      The “ ‘property’ interests subject to procedural due process protection are not

limited by a few rigid, technical forms.” Perry v. Sindermann, 408 U.S. 593, 601

(1972). “Rather, ‘property’ denotes a broad range of interests,” id., that are “not

limited to . . . real or personal property.” Klein v. Califano, 586 F.2d 250, 257 (3d

Cir. 1978) (en banc). Due process property interests include legal “entitlements,”

which are benefits conferred by statutes, regulations, and the “existing rules or

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understandings” against which those statutes and regulations operate. Bd. of Regents

of State Colls. v. Roth, 408 U.S. 564, 571-572 (1972); see also Town of Castle Rock,

Colo. v. Gonzales, 545 U.S. 748, 756 (2005).

      The Program deprives AstraZeneca of core property interests in its patented

drugs and the right to determine the revenue it derives therefrom. Patents “have long

been considered a species of property,” and “they are surely included within the

‘property’ of which no person may be deprived . . . without due process of law.” Fla.

Prepaid Postsec. Educ. Expense Bd. v. Coll. Sav. Bank, 527 U.S. 627, 642 (1999).

The rights inherent in a patent “embod[y] a carefully crafted bargain”: In return for

“the creation and disclosure of new, useful and nonobvious advances in technology,”

an inventor is entitled to “the exclusive right to practice the invention for a period of

years.” Bonito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S. 141, 150-151

(1989).    By statute, drug manufacturers are often also entitled to a so-called

regulatory exclusivity period during which the FDA cannot approve a generic

competitor. See 21 U.S.C. § 355(c). Though this “complex balance” between patent

exclusivity and regulatory exclusivity, Congress provided “pharmaceutical

innovation even greater statutory protection than other types of innovation,” thus

promoting “an industry vital to our national interests.” Pharm. Research & Mfrs. of

Am. v. District of Columbia, 406 F. Supp. 2d 56, 65-67 (D.D.C. 2005), aff’d sub




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nom., Biotechnology Indus. Org. v. District of Columbia, 496 F.3d 1362 (Fed. Cir.

2007) (“BIO”).

      These exclusivity periods yield “economic rewards,” limited only by “the

dictates of the marketplace.” BIO, 496 F.3d at 1372 (quoting King Instruments Corp.

v. Perego, 65 F.3d 941, 950 (Fed. Cir. 1995)). Indeed, it is well understood that the

opportunity to recoup investment is the “central” function of the right to exclude. Id.

at 1372-73.      That right is meaningless if the government can restrict the

manufacturer’s price, whether by prematurely denying exclusivity or by artificially

limiting the ability to sell the product at the prevailing market rate. Id.

      A law that authorizes the government to limit prices for an innovative drug

during the exclusivity period thus “limit[s] the full exercise of the exclusionary

power” to which the manufacturer is entitled. Id. at 1374. That is why, for example,

a state law barring high prices for patented drugs is preempted by federal patent

law—because limiting prices during the exclusivity period “re-balance[s] the

statutory framework of rewards and incentives” that is inherent in a patent on an

“inventive new drug[].” Id. Indeed, a statute “designed to force drug manufacturers”

“to limit the wholesale price” of patented drugs during the exclusivity period

undermines the “very purpose” for which the exclusivity right was conferred.

Pharm. Research, 406 F. Supp. 2d at 65-66; see also United States v. Gen. Elec. Co.,

272 U.S. 476, 490 (1926) (“One of the valuable elements of the exclusive right of a



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patentee is to acquire profit by the price at which the article is sold.”); United States

v. Studiengesellschaft Kohle, m.b.H., 670 F.2d 1122, 1131 (D.C. Cir. 1981) (“[T]he

patentee’s reward include[s] the right to fix prices at which products [a]re sold.”).

      AstraZeneca is entitled to the inherent “economic rewards” that accompany

its patents on FARXIGA and its statutory right to regulatory exclusivity periods.

BIO, 496 F.3d at 1374. That means AstraZeneca has a right to “profit by the price

at which [FARXIGA] is sold,” General Electric, 272 U.S. at 490—a right which can

be limited only by the “dictates of the marketplace,” BIO, 496 F.3d at 1374. By

leveraging its coercive power to force AstraZeneca to sell FARXIGA at a

government-dictated rate, the Program “limit[s] the full exercise” of these rights.

BIO, 496 F.3d at 1374. That deprivation of property rights cannot be carried out

without due process of law.

             2.     The Program does not provide AstraZeneca due process.

      Once a property deprivation is established, courts “ask whether the procedures

followed by the [government] were constitutionally sufficient.” Swarthout, 562 U.S.

at 219. To meet that standard, the government must follow procedures designed to

prevent “substantively unfair and simply mistaken deprivations of property.”

Elsmere Park Club, L.P. v. Town of Elsmere, 542 F.3d 412, 417 (3d Cir. 2008)

(quotation marks and citation omitted). That includes providing a meaningful




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opportunity to be heard and an impartial adjudicator to evaluate those claims. The

Program explicitly denies AstraZeneca both.

      First, the Program provides AstraZeneca no hearing on its property

deprivation. It is “fundamental” that due process protects the “opportunity to be

heard . . . at a meaningful time and in a meaningful manner.” Armstrong v. Manzo,

380 U.S. 545, 552 (1965). Thus, when the state deprives a person of his property

interests, “the right to some kind of prior hearing is paramount.” Roth, 408 U.S. at

569-570. Only in “rare and extraordinary” cases may the government “postpon[e]

the hearing until after the event.” Id. at 570 n.7.

      What the government may never do, however, is deprive a party of its property

interests without any hearing at all. Simply put, the government violates due process

when it affords a person “no hearing, either before or after” the property deprivation.

Bradley v. Pittsburgh Bd. of Educ., 913 F.2d 1064, 1078 (3d Cir. 1990). Even when

a federal agency acts during a “war emergency,” due process requires at least a

hearing “after the regulations or orders have been made effective.” Bowles v.

Willingham, 321 U.S. 503, 521 (1944); see also Lawrence v. Reed, 406 F.3d 1224,

1233 (10th Cir. 2005) (a property deprivation with “no hearing whatsoever” is

unconstitutional); Schepers v. Comm’r, Indiana Dep’t of Correction, 691 F.3d 909,

915 (7th Cir. 2012) (when a law “provides no process whatsoever,” “[t]his

deficiency alone” violates the Due Process Clause) (emphasis in original).



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      Here, the government has deprived AstraZeneca of property interests with “no

hearing, either before or after” the deprivation. Bradley, 913 F.2d at 1078. The IRA

provides that CMS “shall implement [the Program] for 2026, 2027, and 2028, by

program instruction or other forms of program guidance.” 42 U.S.C. § 1320f note.

CMS has read that language to exempt the Program from notice-and-comment

requirements. See JA126-129.        The IRA also withholds advance notice to

AstraZeneca of the forced-sale “agreement,” let alone the opportunity to comment

or negotiate its contents. 42 U.S.C. §§ 1320f-2(a)(1), 1320f-3(a). Indeed, the pattern

manufacturer “agreement” was not even published until after CMS issued its final

Guidance. See JA107-118.

      CMS also did not provide the requisite process on the back end. When there

is no front-end process, the Constitution requires a judicial or administrative hearing

at which agency action can be reviewed. See, e.g., Hodel v. Va. Surface Min. &

Reclamation Ass’n, Inc., 452 U.S. 264, 299-301 (1981). Yet the statute forbids even

that. Under the IRA, “[t]here shall be no administrative or judicial review” of any

meaningful government decision the Program entails—including what counts as a

“qualifying single source drug” and the price-capped rate itself. See 42 U.S.C.

§ 1320f-7. That violates due process.

      Second, the Program denies AstraZeneca an impartial adjudicator. When the

government deprives a party of a “protected interest,” that party “is entitled as a



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matter of due process of law to . . . a neutral and detached adjudicator” “in the first

instance.” Concrete Pipe & Prods. of Cal., Inc. v. Constr. Laborers Pension Tr. for

S. Cal., 508 U.S. 602, 617-618 (1993) (quotation marks and citation omitted). This

neutrality requirement “has been jealously guarded by [the Supreme] Court” as it

“preserves both the appearance and reality of fairness, generating the feeling, so

important to a popular government, that justice has been done.” Marshall v. Jerrico,

Inc., 446 U.S. 238, 242 (1980) (quotation marks and citation omitted). That

requirement applies even “more strictly” to agency action because the administrative

process lacks “procedural safeguards normally available in judicial proceedings”—

especially when the agency maintains an “active role” in the process. Ventura v.

Shalala, 55 F.3d 900, 902 (3d Cir. 1995) (emphasis added).

      An adjudicator is not neutral when he has a “pecuniary interest” in the

outcome of the case. See, e.g., Ward v. Vill. of Monroeville, 409 U.S. 57, 60-61

(1972). For instance, a mayor is not a neutral adjudicator over challenges to civil

fines that generate income for the mayor’s budget. Id. “[T]he mayor’s executive

responsibilities for [government] finances” may tempt him to assess greater fines,

and that “possible temptation” violates due process. Id. Likewise, a government

agency cannot be a neutral adjudicator when it has a “pecuniary interest in the

outcome” of an administrative proceeding—for example, if “any fine imposed will

flow directly to the [agency’s] budget.” Esso Standard Oil Co. v. Cotto, 389 F.3d



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212, 219 (1st Cir. 2004); see also, e.g., United Church of the Med. Ctr. v. Med. Ctr.

Comm’n, 689 F.2d 693, 699 (7th Cir. 1982).

      When an agency functions in a “prosecutorial or plaintiff-like capacity,”

however, de novo review of the agency action by a neutral decisionmaker, like an

administrative law judge or an Article III court, can satisfy due process. See, e.g.,

Marshall, 446 U.S. at 247-248. In that situation, the agency does not sit as a judge

over “disputed factual or legal questions”—rather, it “acts as a complaining party

and bears the burden of proof on contested issues,” which are ultimately decided by

a separate, neutral adjudicator. Id. at 248-250. So long as that independent check

exists, the agency need not be “entirely neutral and detached.” Id. at 248 (quotation

marks and citation omitted).

      Applying these principles, the Program violates due process. The IRA vests

CMS with the power to unilaterally dictate which drugs qualify for the program and

the corresponding price caps. The statute explicitly bars any “administrative or

judicial review” of CMS’s decisions. See 42 U.S.C. § 1320f-7. CMS is therefore

acting as an adjudicator, not a prosecutor. CMS does not “bear[] the burden of proof

on contested issues”—it makes the “final decision” on those issues itself, subject to

review from no one. Marshall, 446 U.S. at 247-248, 250. In that adjudicative role,

CMS is subject to the Due Process Clause’s “rigid requirements” for neutrality. Id.




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      Here, CMS is anything but neutral. CMS is the agency primarily responsible

for paying Medicare Part D reimbursements.             So when CMS decides the

reimbursement rate for a drug like FARXIGA, the agency decides how much money

will “flow directly” from its coffers. Cotto, 389 F.3d at 219. It thus has a profound

“pecuniary interest” in setting low rates—as its statutory directive confirms—

regardless of whether they are actually “fair,” are based on the statutorily mandated

factors, or adhere to CMS’s standard methodology. Ward, 409 U.S. at 60-61; see

generally 42 U.S.C. § 1320f-3. No amount of process on the back end could cure

that fatal flaw. See Concrete Pipe, 508 U.S. at 617.

      The process afforded likewise falls short of the constitutional goalposts if the

Court views CMS’s role as more akin to a plaintiff or prosecutor. Although CMS

need not be “entirely neutral” when acting in that role, due process still requires the

government to “provid[e] for a neutral adjudicator to conduct a de novo review” of

the agency’s decision. Id. at 618 (quotation marks and citation omitted). Otherwise,

the target of the agency action would “be deprived . . . of the impartial adjudication

in the first instance to which it is entitled under the Due Process Clause.” Id. at 626.

Here, however, the statute expressly bars the very review that due process requires—




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CMS’s biased decision is the end of the line. 42 U.S.C. § 1320f-7. That is flat-out

unconstitutional.3

      B.     This Court should reject the District Court’s “voluntariness”
             exception to the Due Process Clause.

      Rather than engaging with these issues, the District Court instead adopted the

government’s theory that AstraZeneca is not entitled to due process because

“participation in the Medicare program is a voluntary undertaking.” JA43 (quotation

marks and citation omitted); see ECF 21-1, at 44-48.

      That voluntariness theory finds no footing here. For one, participation in the

Program is hardly “voluntary” in light of the draconian fines manufacturers face if

they refuse to sell their products at CMS’s chosen rate and the practical impossibility

of withdrawing all their products from Medicare and Medicaid entirely, which is the

only way to avoid the price cap. Supra pp. 12-13; see also, e.g., Doe v. Univ. of

Scis., 961 F.3d 203, 213 (3d Cir. 2020) (acknowledging that the “total withdrawal

of federal funding” is “economic dragooning,” akin to “a gun to the head”)

(quotation marks omitted).




3
 The Drug Price Negotiation Program is severable from the remainder of the IRA.
See JA16-17 n.2 (raising but not deciding this issue). The remainder of the statute
would be “fully operative” without it, and there is no evidence that Congress would
have refused to enact the remainder of this bill without this Program. See, e.g.,
Alaska Airlines, Inc. v. Brock, 480 U.S. 678, 684 (1987).

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      More to the point, the District Court’s voluntariness framing misunderstands

the relevant due process principles. The mere fact that participation in a government

program is voluntary does not mean the government can dispense with due process

in administering that program. Indeed, the Supreme Court and this Court have

repeatedly applied the Due Process Clause in the context of voluntary government

programs. The plaintiffs in Goldberg v. Kelly, for instance, were not required to

seek out social security benefits, but that did not mean the government could deny

benefits “without affording . . . due process.” 397 U.S. 254, 263-264 (1970). Rather,

for due process purposes, the relevant question is whether the government has

created a “statutory entitlement” guaranteed to any person who qualifies under the

statutory criteria. Id. at 262. If so, the government must afford due process in

administering that benefit. Id. The fact that a person is not required to seek out that

benefit is irrelevant. See also, e.g., Memphis Light, Gas & Water Div. v. Craft, 436

U.S. 1 (1978) (voluntary utility services); Kelly v. R.R. Ret. Bd., 625 F.2d 486, 488

(3d Cir. 1980) (voluntary disability benefits).

      In reaching the opposite conclusion, the District Court relied heavily on dicta

from a Southern District of Ohio opinion denying a preliminary injunction of the

Program. Dayton Area Chamber of Com. v. Becerra, __ F.3d __, 2023 WL 6378423,

at *11 (S.D. Ohio Sept. 29, 2023). That decision, in turn, rested on Sixth and Eighth

Circuit cases rejecting challenges to Medicare provisions under the Takings Clause.



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Id. (citing Baptist Hosp. East v. HHS, 802 F.2d 860, 869 (6th Cir. 1986); Minnesota

Ass’n of Health Care Facilities, Inc. v. Minnesota Dep’t of Pub. Welfare, 742 F.2d

442 (8th Cir. 1984)).

      “Voluntariness” applies differently in the takings context.          Where the

submission of property to the government is truly “voluntary,” it “can hardly be

called a taking.” Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1007 (1984). Thus,

the government commits a taking “only where it requires” a person to relinquish

property interests, see Yee v. City of Escondido, 503 U.S. 519, 527-28 (1992),

whether directly or through economic coercion. The Takings Clause therefore “does

not extend . . . to statutory entitlements” under voluntary government programs.

Pittman v. Chicago Board of Education, 64 F.3d 1098, 1104 (7th Cir. 1995). By

contrast, the Supreme Court has repeatedly held that the Due Process Clause does

apply to the administration of such voluntary government programs. See, e.g.,

Goldberg, 397 U.S. at 263-264.

      This Court and others have accordingly recognized that property interests are

“defined somewhat differently” in takings and due process cases. Midnight Sessions,

Ltd. v. City of Philadelphia, 945 F.2d 667, 679 (3d Cir. 1991), abrogated on other

grounds by United Artists Theatre Cir., Inc. v. Twp. of Warrington, PA, 316 F.3d

392 (3d Cir. 2003). Indeed, “entitlements are often referred to as ‘property interests’

within the meaning of the Due Process Clause,” “but such references have no



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relevance to whether they are ‘property’ under the Takings Clause.” Adams v.

United States, 391 F.3d 1212, 1220 n.4 (Fed. Cir. 2004); accord Roth v. King, 449

F.3d 1272 (D.C. Cir. 2006); see also, e.g., Hignell-Stark v. City of New Orleans, 46

F.4th 317, 323 (5th Cir. 2022) (“there’s a big difference between saying that

something is property for purposes of procedural due process and saying that it is

property for purposes of the Takings Clause”); Corn v. City of Lauderdale Lakes, 95

F.3d 1066, 1075 (11th Cir. 1996) (“ ‘Property’ as used in the Just Compensation

Clause is defined much more narrowly than in the due process clauses.”); Hoffman

v. City of Warwick, 909 F.2d 608, 620 n.11 (1st Cir. 1990) (“Our holding that

plaintiffs have not been deprived of a property interest for Takings Clause purposes

is not determinative of the issue whether they had a property interest for procedural

due process purposes.”).

      The Supreme Court’s holding in Bowles v. Willingham, 321 U.S. 503 (1944),

illustrates the distinction. That case involved a rent control statute enacted to reduce

wartime inflation. The Court held that the statute did not effect a “taking” because

the landlord plaintiffs voluntarily submitted to rent regulation by choosing to lease

their apartments: “There is no requirement that the apartments in question be used

for purposes which bring them under the Act.” Id. at 517. Voluntary or not, however,

the Court still held that the government was required to provide landlords due

process in setting the rent prices. Id. at 519-522. The Due Process Clause, the Court



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reasoned, is a “constitutional limitation[] safeguarding essential liberties” “that even

the war power does not remove.” Id. (quotation marks and citation omitted). The

rent control statute satisfied those constitutional requirements only because it

“provided for judicial review”—and that is precisely what the IRA fails to do. Id.

      For its part, the District Court cited Livingston Care Center, Inc. v. United

States, 934 F.2d 719 (6th Cir. 1991), but that case similarly shows that

“voluntariness” is not a bar to due process claims. That opinion notes in its

background discussion that Medicare “is a voluntary undertaking.” Id. at 720. When

analyzing the plaintiff’s due process claim, however, the court did not hold that due

process is irrelevant because Medicare is “voluntary.” Instead, it held that the

Medicare provision at issue provided sufficient process because it allowed for

adequate “judicial review.” Id. at 722-723. That analysis would make little sense if

no process is ever due in the administration of voluntary government programs like

Medicare.

      The District Court’s unprecedented and unfounded theory would

fundamentally upend public-private relationships nationwide. The District Court

touted the government’s “unrestricted power . . . to fix the terms and conditions upon

which it will make needed purchases” as a reason for ruling against AstraZeneca,

JA43 (quotation marks and citation omitted), but the fact that this process is

unrestricted is what is so alarming. A host of laws empower the federal and state



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governments to impose price caps. See, e.g., 50 U.S.C. § 4514(a) (permitting the

president to impose wartime “price controls” with congressional authorization); 15

U.S.C. § 764 (similar “pricing authority” for oil prices); N.Y.C. Admin. Code §§ 26-

401-26-415 (rent control). What separates those programs from this one is not

“voluntariness”—it is the provision of a constitutionally sufficient check to ensure

the price cap is legitimate, reasonable, and unbiased. Even the Emergency Price

Control Act of 1942, which authorized sweeping authority to set price controls over

agricultural commodities, goods and services, and real property during World War

II, ensured adjudication by a neutral administrator and review by an Article III court.

50 U.S.C.A. §§ 902, 905, 921, 924, 56 Stat. 23. The District Court’s decision would

upend all of that, allowing the government to impose price controls by fiat with no

due process whatsoever.

                                  CONCLUSION

      For the foregoing reasons, AstraZeneca respectfully requests that this Court

reverse the judgment below and remand for further proceedings.




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                 CERTIFICATION OF BAR MEMBERSHIP

      Pursuant to Local Rules 28.3(d) and 46.1(e), I certify that I, Catherine E.

Stetson, am admitted as an attorney and counselor of the United States Court of

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      Pursuant to Federal Rule of Appellate Procedure 32(g) and Local Rule 31.1,

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                           CERTIFICATE OF SERVICE

      I certify that the foregoing was filed with the Clerk using the appellate

CM/ECF system on July 15, 2024. All counsel of record are registered CM/ECF

users, and service will be accomplished by the CM/ECF system. I also hereby

certify that pursuant to Third Circuit Local Appellate Rule 31.1, ten paper copies

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